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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   JAVIER RUEDA, individually,          )   Case No. 2:13-CV-04956-DSF-RZ
       and on behalf of all others          )
  12   similarly situated,                  )   CLASS ACTION
                                            )
  13                       Plaintiff,       )   ORDER GRANTING PLAINTIFF’S
                                            )   MOTION FOR AN ORDER:
  14   vs.                                  )
                                            )   (1)   AWARDING ATTORNEYS’
  15                                        )         FEES AND COSTS TO CLASS
       ADT LLC, and DOES 1 through          )         COUNSEL; AND
  16   100, inclusive,                      )   (2)   AWARDING ENHANCEMENT
                                            )         PAYMENT TO THE CLASS
  17                                        )         REPRESENTATIVE
                           Defendant.       )
  18                                        )
                                            )
  19                                        )
                                            )
  20                                        )
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  22         This matter came before the Court on November 3, 2014 at 1:30 p.m., with
  23   Scott Cole & Associates, APC (“Class Counsel”), appearing as counsel for
  24   Representative Plaintiff Javier Rueda (“Plaintiff”), individually and on behalf of a
  25   putative class, and Ogletree, Deakins, Nash, Smoak & Stewart, P.C. appearing as
  26   counsel for Defendant ADT LLC (“Defendant”). The Court, having carefully
  27   considered the briefs, arguments of counsel and all matters presented to the Court
  28   and good cause appearing therefor,

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  1           IT IS ORDERED THAT:
  2           1.      All terms used in this Order shall have the same meaning as in the
  3    parties’ Joint Stipulation and Agreement of Compromise and Settlement of Class
  4    Action (“Settlement Agreement”).
  5           2.      The Court finds that Class Counsel has fairly and adequately
  6    represented and protected the interests of the Class at all times in this action.
  7           3.      The Court has reviewed the Supplemental Declaration of Molly A. Desario
  8    and finds that the proffered support for the lodestar analysis is entirely inadequate. The
  9    descriptions provided in the “Item Description” column are so vague that the Court could
  10   not possibly attempt to determine whether the time spent was reasonable. That said, the
  11   number of entries and the number of different timekeepers involved leads the Court to
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       conclude there is a strong possibility that much of the work was duplicative and
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       unreasonable, and would not be included in a lodestar calculation. No paying client
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       would pay anywhere near the fee being requested here based on this type of billing.
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       Because the Court concludes that it cannot rely on counsel’s billing records to calculate
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       the lodestar accurately, the Court need not evaluate the hourly rates proposed. The Court
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       notes, however, that some or all of the hourly rates would not be supported by the 2013
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       Real Rate Report Snapshot (Real Rate Report), a CEB and TyMetrix publication that
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       identifies attorney rates by location, experience, firm size, areas of expertise, and
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  21   industry, as well as the specific practice areas.1 The Court finds this publication’s

  22   analysis to be much more persuasive than other surveys, as it is based on actual legal
  23   billing, matter information, and paid and processed invoices from more than 80
  24   companies2 - a much better reflection of true market rates than self-reported rates in all
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       1
  26    The Real Rate Report separates litigation from other practice areas and assigns litigated
       matters into specific litigation practice areas.
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         As explained in the Appendix, most of the data was taken from invoice line item entries
  28   contained in invoices received and approved by participating companies. Id. at 97. It was not
       taken from surveys, sampling, or reviews of other published information. Id. at 4.
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  1    practice areas as part of a national survey of top firms. See St. Louis Police Retirement
  2    System v. Severson, Case No. 12-CV-5086 YGR (N.D. Cal. August 11, 2014) ( relying
  3    on the Real Rate Report). The Real Rate Report advises that the “size of the law firm
  4    continued to have the largest impact on law firm rates.” 3 Id. at 1. Class Counsel’s firm is
  5    a small firm. A review of the appropriate categories of the Real Rate Report makes clear
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       that the Court cannot calculate an accurate lodestar based on counsel’s claimed rates. For
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       the reasons previously stated, the Court need not assign an hourly rate for the many
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       attorneys who performed services on this litigation. Suffice it to say that the lodestar does
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       not suggest a percentage award greater than 25%. The Court finds it highly unlikely that
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       a 25% award would result in a negative multiplier.
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              4.      Therefore, the Court relies on the percentage-of the fund method to
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       calculate the award of attorneys’ fees. That calculation results in a fee in the
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       amount of $214,929.50. That amount is approved and awarded to Class Counsel.
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       (The Court deducts from the $900,000 Gross Settlement Amount, the amount that
  15
       will be paid on account of the employer’s portion of the payroll taxes. That
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       amount provides no benefit whatever to the class and counsel should not receive
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       25% of it.) The Court finds that California wage and hour cases have become
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       ubiquitous and that there is an overabundance of attorneys skilled in the field
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       willing to take on such cases and to seek only 25% of the common fund. There is
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       nothing particularly unique about this case and there is no justification for an
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       award above the benchmark.
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              5.      As previously stated, there is no shortage of attorneys skilled in class
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       action litigation, especially in the Central District. Travel expenses should be
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       awarded only when they are reasonable and necessary. See Thornberry v. Delta
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  27   3
          Relying on this Report may also result in a somewhat inflated market rate for plaintiff’s
  28   counsel, as corporate entities are generally willing and able to pay higher fees than individual
       clients. However, the Court declines to take this factor into account.

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  1    Air Lines, 676 F.2d 1240, 1244 (9th Cir. 1982). This Court agrees with the Tenth
  2    Circuit that travel expenses for out-of-state counsel between their offices and the
  3    city (in this case, the district) in which the litigation is conducted should not be
  4    reimbursed because there is no need to employ counsel from outside the area.
  5    Ramos v. Lamm, 713 F.2d 546, 559 (10th Cir. 1983). The Court also finds that the
  6    copy rate paid to attorneys pursuant to the Criminal Justice Act - .10 - is reasonable
  7    and sufficient. Counsel has provided no justification for a higher rate. The Court
  8    further finds that the extremely high fees for “Vendor for Filing and Serving” and
  9    the fee for teleservices is greater than necessary due to counsel’s location and
  10   reduces those fees to $500 and $100, respectively. The Court finds the other
  11   requested fees to be reasonable. Therefore, the Court approves reduced costs in the
  12   amount of $7,607.51 as the fair and reasonable costs incurred for the benefit of the
  13   Class.
  14            6.   The Court finds that the Representative Plaintiff has contributed to the
  15   resolution of this case and has fairly and adequately represented and protected the
  16   interests of the Class. Among other efforts, Plaintiff apparently produced
  17   documents, provided detailed background information about Defendant’s policies
  18   and procedures and the day-to-day mechanics of Defendant’s operations. Plaintiff
  19   made himself available to Class Counsel throughout the litigation and settlement
  20   process. Although Plaintiff suggests that he has been disciplined inappropriately
  21   as a result of his participation in this case, he provides no support for that claim.
  22   There is also no support for his suggestion that his involvement in this litigation
  23   may be an impediment to future employment, though there is some possibility that
  24   might occur. Plaintiff also executed a general release including a California Civil
  25   Code section 1542 waiver, which encompassed a broader set of claims than those
  26   being released by members of the Settlement Class. However, he provides no
  27   suggestion that he has any other claims, so there appears to be no detriment to him
  28   in executing this waiver. The description of his services is vague, and there is no

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  1    suggestion of the amount of time he spent in these activities. The Court finds a
  2    Class Representative Enhancement in the amount of $3,000 is sufficient.
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  4    IT IS SO ORDERED.
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  6    Dated:_1/14/15_____________
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  8                                      By:
                                         __________________________________
  9                                            The Honorable Dale S. Fischer
                                               United States District Judge
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